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                  THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MINNESOTA

ERIC MACKIE, JOSHUA BIGGS,
and RUTH MATTISON, individually
and on behalf of others similarly
situated
                                                  Civ. No.: 0:22-cv-00736-NEB-LIB
                    Plaintiffs,
v.

AMERICAN HONDA MOTOR CO.,
INC.,

                    Defendants.
         REVISED JOINT STIPULATION REGARDING APPOINTMENT
                            OF INTERIM CLASS COUNSEL

      Plaintiffs Erick Mackie, Joshua Biggs, and Ruth Mattison, and Defendant
American Honda Motor Co., Inc. hereby stipulate as follows:
      WHEREAS, this litigation arises from allegations that Honda manufactured,
sold, and leased model year (“MY”) 2019-2021 Honda CR-V and Honda Civic
vehicles and MY 2018-2021 Honda Accord vehicles equipped with “Earth Dreams”
1.5L direct injection engines that are susceptible to oil dilution;
      WHEREAS, Plaintiffs Eric Mackie, Joshua Biggs, and Ruth Mattison
initiated this action on March 23, 2022 (ECF No. 1);
      WHEREAS, on August 12, 2022, Defendant American Honda Motor Co., Inc.
filed its answer to Plaintiffs’ complaint (ECF No. 24).
      WHEREAS, on October 11, 2022, the Court granted the parties’ stipulation
dismissing Defendant Honda Motor Co., Ltd. (ECF No. 31);
      WHEREAS, on January 23, 2023, this Court entered an Order granting the
parties’ Joint Stipulation Regarding Appointment of Interim Class Counsel (ECF



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No. 42), which appointed Matthew D. Schelkopf of Sauder Schelkopf LLC and
Nicholas A. Migliaccio of Migliaccio & Rathod LLP to serve as Interim Co-Lead
Counsel, Stephen R. Basser of Barrack Rodos & Bacine to the Executive Committee,
and Daniel Hedlund of Gustafson Gluek PLLC as Liaison Counsel;
      WHEREAS, Wolf v. American Honda Motor Co., Inc., No. 1:22-cv-5855, was
filed on October 24, 2022 in the Northern District of Illinois and transferred to this
Court on January 19, 2023, 0:23-cv-00145, ECF No. 24, and assigned to Judge
Tunheim;
      WHEREAS, on March 9, 2023, Wolf v. American Honda Motor Co., Inc., No.
0:23-cv-00145 was reassigned to the Hon. Nancy E. Brasel;
      WHEREAS, Interim Class Counsel have conferred with counsel in the Wolf
matter and seek to amend the Court’s previous Order granting the parties’ Joint
Stipulation Regarding Appointment of Interim Class Counsel to include Jonathan D.
Lindenfeld of Fegan Scott LLC as a member of the Executive Committee;
      WHEREAS, Fegan Scott LLC is well-qualified to serve on the Executive
Committee and to represent the interests of the putative class, see Exhibit A (firm
resume of Fegan Scott LLC);
      WHEREAS, Fed. R. Civ. P. 23(g)(3) states that the “court may designate
interim counsel to act on behalf of a putative class before determining whether to
certify the action as a class action;”
      WHEREAS, Defendant does not oppose adding Jonathan D. Lindenfeld of
Fegan Scott LLC to the Executive Committee;
      WHEREAS, Defendant’s lack of opposition to the designation of interim class
counsel shall not constitute a waiver by Defendant to challenge any factors the court
may consider when ruling on a class certification motion nor shall it constitute a
waiver of any defenses or affirmative defenses;
      WHEREAS, a proposed order granting this relief has been submitted
herewith.



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         IT IS HEREBY STIPULATED AND AGREED, by Plaintiffs and
Defendant, subject to the Court’s approval, that:
         1.      Pursuant to Fed. R. Civ. P. 23(g)(3), the Court appoints Matthew D.
Schelkopf of Sauder Schelkopf LLC and Nicholas A. Migliaccio of Migliaccio &
Rathod LLP to serve as Interim Co-Lead Counsel and to act on behalf of putative
members in this case and any additional actions that might be filed in or transferred
to this Court, or otherwise consolidated with this action. The Court also appoints
Stephen R. Basser of Barrack Rodos & Bacine and Jonathan D. Lindenfeld of Fegan
Scott LLC to the Executive Committee. The Court also appoints Daniel Hedlund of
Gustafson Gluek PLLC as Liaison Counsel.
         2.      The Court finds that the appointments appropriate in this case, and
further finds that counsel are experienced in complex commercial class action
litigation and have the resources and knowledge to adequately represent the putative
class.
         3.      Consistent with the Manual for Complex Litigation, Fourth, §§ 10.221
and 40.22, Interim Co-Lead Counsel will be generally responsible for the overall
conduct of the litigation on behalf of the putative class and will have the following
specific responsibilities:
         a.      To determine and present (in briefs, oral argument, or such other
                 fashion as may be appropriate, personally or by a designee) to the Court
                 and opposing parties the position of Plaintiffs and putative class
                 members on all matters arising during pretrial proceedings;
         b.      To delegate work as needed to the Executive Committee and Liaison
                 Counsel to efficiently prosecute this litigation and avoid unnecessary
                 duplication of time and effort.
         c.      To coordinate the initiation and conduct of discovery on behalf of
                 Plaintiffs and putative class members, consistent with the requirements
                 of Fed. R. Civ. P. 26(b)(1), 26(b)(2), and 26(g), including the



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              preparation of joint interrogatories and requests for the production of
              documents and the examination of witnesses in depositions;
      d.      To conduct settlement negotiations on behalf of Plaintiffs and putative
              class members, where appropriate, to present any proposed settlements
              to the Court on behalf of putative class members;
      e.      To delegate specific tasks to other counsel or committees of counsel, as
              authorized by the Court, in a manner designed to ensure that pretrial
              preparation for Plaintiffs and the putative class is conducted efficiently
              and effectively;
      f.      To enter into stipulations with opposing counsel as necessary for the
              conduct of the litigation;
      g.      To prepare and distribute status reports to any other law firms that
              might seek to represent the putative class;
      h.      To maintain adequate time and disbursement records covering services
              as Interim Class Counsel
      i.      To apportion and determine fee and expense allocations between
              Interim Class Counsel;
      j.      To monitor the activities of any other law firms that might seek to
              represent putative class members to ensure that schedules are met and
              unnecessary expenditures of time and funds are avoided; and
      k.      To perform such other duties as may be incidental to the proper
              prosecution and coordination of pretrial activities on behalf of Plaintiffs
              and the putative class or authorized by further order of this Court.


Dated: April 5, 2023


                                  By:      /s/ Matthew D. Schelkopf
                                           Matthew D. Schelkopf (pro hac vice)
                                           Joseph B. Kenney (pro hac vice)


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                           Proposed Interim Co-Lead Counsel

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                           San Diego, CA 92101
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                           Proposed Executive Committee

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                                   Proposed Liaison Counsel


Dated: April 5, 2023         By:   /s/ John L. Ackley (with consent)
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                                   Counsel for American Honda Motor Co.,
                                   Inc.




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                         CERTIFICATE OF SERVICE

      I, Matthew D. Schelkopf, filed the foregoing Revised Joint Stipulation

Regarding Appointment of Interim Class Counsel thereby electronically serving it

upon all counsel of record.


Dated: April 5, 2023                        By:   /s/ Matthew D. Schelkopf




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